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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:18−cr−00048
                                                            Honorable John Z. Lee
Edward Bases, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 3, 2019:


       MINUTE entry before the Honorable John Z. Lee: As to John Pacilio. Unopposed
motion to modify conditions of release for permission to travel to New Hampshire and
Maine from June 24, 2019 through June 26, 2019 [190] is granted.No appearance is
required on the motion. Mailed notice (ca, )




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